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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 (Southern Division)

KEVIN AND JEIMY FLOURNOY
And
TINAEE D. CROWDER
     On their behalf and on behalf of three
      classes of similarly situated persons   Case No. 8:19-cv-00407-PX

       Named Plaintiffs,

v.

RUSHMORE LOAN MANAGEMENT
SERVICES LLC, et al.

        Defendants.




         EXHIBIT 7 TO PLAINTIFFS’ MOTION FOR CLASS
                       CERTIFICATION
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     (Southern Division)

 KEVIN AND JEIMY FLOURNOY

 And

 TINAEE D. CROWDER                                     Case No. 8:19-cv-00407-PX

          On their behalf and on behalf of three
          classes of similarly situated persons

          Named Plaintiffs,

 v.

 RUSHMORE LOAN MANAGEMENT
 SERVICES LLC, et al.

            Defendants.

                            AFFIDAVIT OF TINAEE CROWDER

      I, Tinaee Crowder, solemnly affirm under the penalties of perjury and upon personal

knowledge that the facts contained herein are true.


1. I am over the age of 18 and competent to testify herein.

2. I am a Plaintiff in this matter and I have personal knowledge of the facts set forth herein.

3. I previously purchased a home in Owings Mills, Maryland, for personal, family use.

      The purchase of my home was financed by a loan from Equifirst Corporation, which

      was secured by a Deed of Trust (ECF 22-4).

4. Rushmore Loan Management Services, LLC acquired the servicing of my loan on or

      about February 1, 2013. At that time, my loan was in default due to a loss of income.

5. I contacted Rushmore by letter on October 23, 2017 to request information about my
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   loan and to dispute issues related to Rushmore’s servicing of my loan. A copy of that

   letter is attached as Ex. A.

6. Rushmore responded to this letter on December 4, 2017 by providing a letter and an

   accounting history (which is attached hereto as Ex. B). This accounting history

   describes “property preservation” fees that were imposed on my account.

7. Because I had previously been unaware of the property preservation fees imposed by

   Rushmore, I wrote to Rushmore again on December 14, 2017 to obtain more

   information about why it had assessed these fees to my account. A copy of that

   correspondence is attached hereto as Ex. C.

8. Rushmore responded to my second inquiry on February 8, 2018 by stating that its

   process was to order inspections once an account had become delinquent, and that “the

   charges for these inspections and/or any work requirements we may incur to protect the

   property, as provided in your Security Instrument, may be added to the total debt that

   you currently owe on your mortgage.” Ex. D.

9. The property I formerly owned in Owings Mills was sold at a foreclosure auction on

   December 7, 2017. The sale was reported and ratified; and the auditor’s report (which

   showed a deficiency) was also ratified. The auditor’s report, however, did not

   demonstrate how the proceeds of the sale would be distributed to the sums claimed due

   in the affidavit of debt.

10. Rushmore’s representative has claimed in an affidavit to this Court that borrowers are

   not required to pay for the inspection fees it imposes onto their loans. (ECF 25-1 at ¶6).

   However, in its handling of my loan, Rushmore indicated the opposite, and its
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   statements and accounting histories also indicated that inspection fees can be and are

   added to the loan balance, as they were added to my loan by Rushmore based on its

   prior admissions to me, and I paid for those sums through the foreclosure of my home

   through the sums claimed due by Rushmore.

11. Without knowing more about Rushmore’s practices relating to property inspections

   from discovery related to my account and the accounts of the putative class members I

   seek to represent, I cannot properly respond to its conclusory allegation at ECF 25-1,

   ¶¶ 6, 8.

12. Based on public records and the records it provided to me, Rushmore does impose

   property inspection fees on mortgage borrowers in Maryland (including myself).

13. In order to fully respond to the conclusory assertion made by Rushmore’s

   representative, I am seeking discovery as to the following issues:

          a) Rushmore’s servicing of my loan, including how it applied the payments I

              made, directly and indirectly through the proceeds of the foreclosure auction,

              and whether any portion of those suns were applied to corporate advance or

              property preservation fees;

          b) What date Rushmore claims it has stopped assessing or imposing property

              preservation charges onto the accounts of Maryland borrowers.
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Request for Information
Tinaee’ D. Crowder
Loan Number:____________________________________

October 23, 2017

Rushmore Loan Management Services LLC
Attn: Qualified Written Requests
PO Box 52262
Irvine, CA 92619

               Request for Information or other Qualified Written Request
      12 U.S.C.A. § 2605, 12 C.F.R. § 1024.41, 12 CFR §1024.35, and 12 CFR §1024.36

Dear Sir or Madam:

Please consider this letter to constitute a qualified written request.

I believe that you have not adequately serviced my loan. Specifically, I applied to you for loss
mitigation assistance in an effort to minimize the costs associated with foreclosure. I was (and
am) willing to let go of the property, and requested that you consider me for a cash for keys
deed in lieu option. Instead of considering this request, you did not even submit the cash for
keys request, and while you were considering me for a deed in lieu, you simultaneously were
tracking my loan for a foreclosure sale. Please explain why you attempted to track my loan for a
foreclosure sale when I was still being considered for loss mitigation alternatives.

In addition to the above information, I also request that you provide me with the following
documents:
    1. Copies of all documents relating to the current owner of my loan, including the date it
        acquired my loan;
    2. Copies of all documents concerning your servicing of my loan, including my
        applications for loss mitigation, and your consideration and decision on my
        applications (including my cash for keys request);
    3. Copies of all audio recordings made in the course of business related to my loan,
        whether made by you or your predecessor.

Please also provide me with a full accounting of my loan. I would also like copies of all
correspondence sent by you, including information related to the ownership of my loan. Please
consider this letter to constitute a Request for Information under 12 CFR Section 1024.35, 12
CFR Section 1024.41 of Regulation X of the Mortgage Servicing Act under RESPA.

Sincerely,


Tinaee D. Crowder
5003 Hollington Dr #206
Baltimore, MD 21117
                                                                                Ex. A
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                                                        Ex. B
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Request for Information
Tinaee’ D. Crowder
Loan Number:7600010230

December 14, 2017

Rushmore Loan Management Services LLC
Attn: Qualified Written Requests
PO Box 52262
Irvine, CA 92619

               Request for Information or other Qualified Written Request

Dear Sir or Madam:

You are my mortgage servicer for the above loan. Please consider this letter to constitute a
Request for Information pursuant to Regulation X and 12 U.S.C.A. § 2605. Also, please consider
this a borrower inquiry pursuant to Com. Law § 13-316. You recently responded to my
previous Request for Information on December 4, 2017, and provided me with a “Customer
Account Activity Statement.” After reading this activity statement, I have some questions:

   •   The activity statement indicates that between December 26, 2014 and November 14,
       2017, Rushmore charged approximately 35 separate property preservation charges.
       Are these charges assessed to my account? Would you please explain what these
       charges are, since I have continuously resided in my property since purchasing it, and I
       perform all maintenance needed on the property.

Thank you for your prompt response to my inquiry.

Sincerely,


Tinaee D. Crowder
5003 Hollington Dr #206
Baltimore, MD 21117




                                                                                Ex. C
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                                                                   Ex. D
